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              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                         ROME DIVISION

MELANIE HOGAN SLUDER AND
RICKY SHAWN CURTIS,
INDIVIDUALLY AND AS
INDEPENDENT ADMINISTRATORS
OF THE ESTATE OF ALEXIS MARIE
SLUDER, DECEASED,                                 Civil Action File No.
                                                  4:24-cv-00181-WMR
      Plaintiffs,

v.

REBECKA PHILLIPS, MAVEIS
BROOKS, RUSSELL BALLARD,
DAVID MCKINNEY, MONICA
HEADRICK, SHARON ELLIS,
GILMER COUNTY (A MUNICIPAL
CORPORATION),

      Defendants.


                    RULE 5.4 CERTIFICATE OF SERVICE

      This will certify that this day the undersigned counsel for Defendant, Russell

Ballard, served a copy of DEFENDANT BALLARD’S RESPONSE TO

PLAINTIFF’S FIRST REQUEST FOR PRODUCTION OF DOCUMENTS

AND INTERROGATORIE via email to counsel of record as follows:

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        County and Sharon Ellis

.     This 24th day of January, 2025.


                                        ANNARITA MCGOVERN LAW, LLC

                                        /s/ Annarita L. McGovern
                                        ANNARITA L. MCGOVERN
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